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                                                                             FILED
                                                                          U.S. DISTRICT COURT
                                                                      EASTERN DISTRICT ARKANSAS
                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF ARKANSAS                      MAR 2 0 2025
                              CENTRAL DIVISION
                                                                       TAM         WNS, CLERK
                                                                    By:_~,__~------
                                                                                            DEPCLERK
ARKANSAS ASSOCIATION OF THE DEAF

             Plaintiff,

V.

COMMISSIONER AND SECRETARY OF THE
ARKANSAS DEPARTMENT OF EDUCA-
TION JACOB OLIVA, in his official capacity,    Case No.: I+: 25-cv-273-KGB
and ARKANSAS BOARD MEMBER SARAH
MOORE, in her individual capacity, ARKAN-
SAS        BOARD       MEMBER         KATHY
MCFETRIDGE-ROLLINS, in her official capac-     COMPLAINT FOR
ity,    ARKANSAS        BOARD      MEMBER      DECLARATORY AND
ADRIENNE WOODS, in her official capacity,      INJUNCTIVE RELIEF
ARKANSAS BOARD MEMBER RANDY
HENDERSON, in his official capacity, ARKAN-
SAS BOARD MEMBER LISA HUNTER, in her
official capacity, ARKANSAS BOARD MEM-
BER JEFF WOOD, in his official capacity, AR-
KANSAS BOARD MEMBER KEN BRAGG, in
his official capacity, ARKANSAS BOARD
MEMBER LEIGH S. KEENER, in her official
capacity, and ARKANSAS BOARD MEMBER
GARY ARNOLD, in his official capacity.

             Defendants.




                    This case assigned to District Judge Baker
                    and to Magistrate Judge_E-r_v,...i....n______
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                                           COMPLAINT

           The Arkansas Association of the Deaf ("AAD" or "Plaintiff') file this Complaint against

Jacob Oliva, Arkansas Board Member Sarah Moore, Arkansas Board Member Kathy Mcfetridge-

Rollins, Arkansas Board Member Adrienne Woods, Arkansas Board Member Randy Henderson,

Arkansas Board Member Lisa Hunter, Arkansas Board Member Jeff Wood, Arkansas Board Mem-

ber Ken Bragg, Arkansas Board Member Leigh Keener, and Arkansas Board Member Gary Arnold

(collectively, the "Defendants"). Plaintiff allege as follows:

                                  PRELIMINARY STATEMENT

           I.     Plaintiff AAD advocates for the rights and interests of deaf Arkansans, including

those who are a part of ASD or ASBVI.

           2.     Plaintiffs members are Deaf, Deafblind, Deaffiisabled, hard of hearing, or late-

deafened individuals (collectively, "deaf' unless specified otherwise) who use various communi-

cation methods, including American Sign Language ("ASL"), tactile sign language, speech, and

braille.

           3.     Plaintiffs members have direct ties to the Arkansas School for the Deaf ("ASD")

or the Arkansas School for the Blind and Visually Impaired ("ASBVI") as students, staff, parents,

or community members (e.g., alumni, grandparents, neighbors, or volunteers).

           4.     In late December 2023, Defendants posted a state-created social media survey so-

liciting feedback from "stakeholders" with direct connections to ASD and ASBVI on the Arkansas

Department of Education ("ADE") Facebook page. But Defendants failed to ensure the survey was

accessible for Plaintiffs members. This failure prevented Plaintiffs members from fully partici-

pating in the survey, leading to limited responses and inadequate feedback from the target audience

concerning ASD and ASBVI.
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       5.        AAD, on behalf of its members, made multiple requests to Defendants to republish

the survey in an accessible format, including ASL translations and audio descriptions. Defendants

did not do so.

       6.        Upon information and belief, after the survey closed on January 5, 2024, Defend-

ants deleted all information about the survey from ADE's Facebook page.

       7.        Defendants relied on the results of this inaccessible survey. Governor Sarah Sand-

ers ("Governor Sanders") stated the state's plan for ASD and ASBVI was based on a "survey of

the school community." 1

       8.        On March 17, 2025, Arkansas Representatives Joey Carr and Tippi McCullough

and Arkansas Senator Jane English introduced House Bill 1810 ("HB 181 O") in the Arkansas 95th

General Assembly.

       9.        HB 1810 seeks to merge ASD and ASBVI into an entity called "Arkansas School

for the Deaf and Blind." This bill removes numerous protections and specific provisions related to

the operation of ASD and ASBVI.

        10.      Defendants knew of their obligations to provide Plaintiffs members with commu-

nication access, including ASL translations and audio descriptions and related auxiliary aids and

services, yet ignored them.

        11.      Defendants intentionally discriminated against Plaintiffs in violation of Title II of

the Americans with Disabilities Act ("ADA"), 42 U.S.C. §§ 12131-12165 ("Title II") and Section

504 of the Rehabilitation Act of 1973, 29 U.S.C. § 794(a) ("Section 504").




1 Josh Snyder, Sanders announces plans for new, state-of art facility on site of schools for the
blind, hearing impaired, Arkansas Democrat Gazette (Feb. 14, 2024), https://www.arkan-
sasonline.com/news/2024/feb/14/sanders-announces-plans-for-new-state-of-the-art/.
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        12.    Because of Defendants' unlawful discrimination, Plaintiffs members were denied

their right to civic participation. Defendants' discriminatory conduct effectively silenced an entire

community's voice in matters directly affecting their lives and education. Without immediate court

intervention, Plaintiffs members will face barriers to meaningful engagement with the policymak-

ers whose decisions affect their community.

                                 JURISDICTION AND VENUE

        13.    This Court has subject-matter jurisdiction over this action under 28 U.S.C. §§ 1331

and 1343. This Court may grant declaratory, injunctive, and other relief under 28 U.S.C. §§ 2201-

2202 and Rules 57 and 65 of the Federal Rules of Civil Procedure.

         14.   Venue is proper in this judicial district under 28 U.S.C. § 1391 because a substantial

part of the acts or omissions giving rise to this action occurred in the Eastern District of Arkansas.

                                             PARTIES

        15.    Plaintiff AAD is a 50l(c)(3) state membership nonprofit organization based in Lit-

tle Rock, Arkansas. AAD is the sole civil rights organization of, by, and for deaf Arkansans. AAD

has over 155 deaf members. Since the late 1800s, AAD has supported, educated, and advocated

for deaf Arkansans, including its members.

                                       Associational Standing

        16.    The AAD advocates for the rights and interests of deaf Arkansans, including those

who are a part of ASD or ASBVI. As a result, Plaintiffs members are among the constituents who

are served by, and who inform the work of, the AAD. The interest of these constituents in reme-

dying discrimination goes to the heart of AA D's mission to ensure that deaf people achieve full

participation in life and community.




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        17.    AAD' s Board, which sets the overall policy direction of the organization, is made

up of people with disabilities. The Board members are deaf or have direct ties to ASD and ASBVI

as staff, parents, or community members.

        18.    People with disabilities also play a significant part in the day-to-day operations of

the AAD. A majority of AAD's volunteer staff are people with disabilities. These people work

directly with AAD's constituents. AAD staff collaborate with local and national disability organ-

izations and task forces that also consist of people with disabilities.

        19.     AAD has associational standing to sue on behalf of its deaf members because AAD

has members residing in Arkansas who are being discriminated against by Defendants who are not

providing these members with effective communication. Such members have standing to sue De-

fendants on their own. Advocating on behalf of its members is germane to AAD's mission of

advocating for its members' rights to full participation in life and community. None of AAD's

members are required to participate in this action because AAD seeks declaratory and injunctive

relief, not an individualized remedy for its members.

        20.     Jacob Oliva, who is being sued in his official capacity as Secretary, is and was at

all relevant times the Secretary of the Arkansas Department of Education ("ADE") and Commis-

sioner of ADE's Division of Elementary and Secondary Education ("Secretary"). As Secretary, he

oversees Arkansas' state-led programs involving early learning and K-12 education, including

ASD and ASBVI.

        21.     State Board Members Sarah Moore, Kathy Mcfetridge-Rollins, Adrienne Woods,

Randy Henderson, Lisa Hunter, Jeff Wood, Ken Bragg, Leigh Keener, and Gary Arnold, who are

being sued in their official capacities, are members of the Arkansas State Board of Education. The

board has two members from each of Arkansas' four congressional districts, and the last member



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is selected at large. The governor selects each member for seven-year terms. The board is the

policy-making body for public K-12 education in Arkansas.

       22.       The Secretary oversees the ADE. The ADE and Arkansas Board of Education are

public entities subject to Title IL Defendants are recipients of federal financial assistance, includ-

ing grants for education programs. As public entities receiving federal financial assistance, De-

fendants are subject to the United States Department of Justice ("DOJ") regulations implementing

Title II of the ADA, 28 C.F.R. pt. 35, and Section 504, 28 C.F.R. pt. 42, Subpart G.

       23.       At all relevant times, Defendants were acting under color of state law, under their

authority as officials, agents, or employees of the State of Arkansas, within the scope of their

employment as representatives of public entities, as defined by 42 U.S.C. § l 213 l (1 ), and as rep-

resentatives of a "department, agency, special purpose district, or other instrumentality of a State

or of a local government" under 29 U.S.C. § 794.

                                 STATEMENT OF THE FACTS

        24.      Plaintiffs members are deaf.

        25.      Plaintiffs members have direct ties to ASD or ASBVI as students, staff, parents,

or community members.

        26.      Plaintiffs members are substantially limited in the major life activity of hearing

and/or seeing.

        27.      Plaintiff's members use various communication methods, including ASL, tactile

sign language, speech, and braille. ASL is a distinct visual-gestural language with its vocabulary,

grammar, and structure, separate from English-it is not English in hand signals. ASL has no

written component. Tactile sign language is a method of communication that uses touch to convey

messages, used by Deafblind individuals who place their hands on the signer to follow what is



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communicated through touch and movement. Braille is a system of raised dots that can be read by

people who are blind or have low vision.

        28.     Some of Plaintiffs members have a limited ability to read and write in English.

Other Plaintiffs members recognize some English or use some English. But for several reasons,

including early language deprivation, many deaf people have a very limited ability to read and

write in English. Deaf people who do not read and write English fluently require sign language

interpreters to translate written documents into sign language, especially for complex topics.

        29.     Some of Plaintiffs members are hard of hearing and have concurrent blindness or

low vision. Not a11 these individuals use braille to access written content. Instead, they rely on

audio descriptions to obtain written information through listening.

                                         ASD and ASBVI

        30.     In 1849, with the support of the State of Arkansas, ASD was established. ASD is

the only school for the deaf in Arkansas and is a fu11y accredited, tuition-free state public school

for eligible deaf preschool and K-12 students. Most students live in donnitories on campus during

the week.

        31.      ASD's mission is to ensure its students are educated, motivated, and independent

communicators who become productive, self-sufficient citizens.

        32.     Adjacent to ASD, the ASBVI provides education for blind or visua11y impaired

students from birth to twenty-one. Most students stay on campus during the week.

        33.     ASBVI's mission is similar to ASD-to ensure its students become productive,

self-sufficient citizens.




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                                 Defendants Publish the Survey

       34.     On December 22, 2023, Defendants posted the survey on ADE's Facebook page.

The survey sought feedback from stakeholders with direct connections to ASD and ASBVI. The

deadline to respond to the survey was January 5, 2024.

       35.     The ADE survey 2 solicited feedback about the quality of ASD and ASBVI educa-

tion, sufficiency of funding for ASD and ASBVI, availability of ADE resources for ASD and

ASBVI, and other topics relevant to the ASD and ASBVI communities.

       36.     But the survey used ambiguous terminology and repetitive language, making com-

prehension exceptionally challenging for Plaintiffs members. The survey lacked auxiliary aids,

including ASL translations or audio descriptions, to ensure effective communication and partici-

pation for Plaintiffs members.

       37.     Defendants did not inform Plaintiffs members about the ADE survey before De-

cember 22, 2023.

       38.     Indeed, some of Plaintiffs members only became aware of the ADE survey on

December 27, 2023. At this time, ASD and ASBVI students and staff were on winter break. Due

to the poorly timed release of the survey during the holidays, the target audience-students, staff,

parents, and community members-had only a few days to learn about, access, and respond to the

survey once they returned from winter break.




2 AAD received a document production from ADE in response to a Freedom of Information Act
("FOIA") request. This document production contained several surveys for 2023-2024. The sur-
veys appear to vary based on the respondent's role (student, staff, parent, and community) with
one version containing 152 questions across 106 pages. For the purposes of this motion, Plaintiff
refer to all versions collectively as the "ADE survey" or "survey." Plaintiff is still uncertain about
the exact contents of the other surveys or what versions were distributed to the ASD and ASBVI
communities.
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       39.     Compounding this timing issue, when Plaintiffs members accessed the survey,

they faced significant barriers because of a lack of auxiliary aids, including ASL translations and

audio descriptions. Due to these barriers, many of Plaintiffs members submitted incomplete re-

sponses or failed to complete the survey.

       40.     Even people with strong English proficiency struggled to respond to the survey. On

December 27, 2023, AAD Vice President Jeff Prail took the ADE Survey. Mr. Prail does not ex-

clusively rely on ASL, but still found that many questions lacked specificity, hampering his ability

to provide responsive answers.

       41.     AAD received a flood of complaints from its members who expressed concerns

about the accessibility of the survey. Members expressed intense frustration with the written Eng-

lish-only format, unclear questions, and the lack of ASL translations and audio descriptions-all

of which prevented their ability to respond.

                  Plaintiff Expresses Serious Concerns Regarding the Survey

       42.     On December 27, 2023, Mr. Prail contacted Jack Sission, the Senior Advisor for

Healthcare for Governor Sanders, seeking clarification about the Defendants' use of "stakehold-

ers" in their social media posts regarding the ADE survey. Mr. Prail also suggested that if Defend-

ants wished to obtain feedback from AAD members concerning ASD and ASBVJ, a town hall

meeting format would provide a more accessible and appropriate forum.

       43.     On January 2, 2024, Mr. Sission responded, stating that the Governor sought mean-

ingful engagement with the ASD and ASBVJ communities. He claimed that after careful deliber-

ation, the team chose the survey as the optimal method of soliciting feedback regarding these com-

munities. Mr. Sission did not mention Mr. Prail's town hall suggestion, instead requesting that Mr.




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Prail help distribute the survey to AAD members and interested parties. Despite Mr. Prail's explicit

request, Mr. Sission failed to identify who the "stakeholders" were under Defendants' definition.

       44.     Mr. Prail responded the next day to Mr. Sission. He specifically noted that Mr.

Sission still had not provided the requested clarification regarding who the "stakeholders" were.

However, Mr. Sission did not ever answer Mr. Prail's question.

       45.     Upon information and belief, on January 3, 2024, the ADE posted a reminder on its

Facebook page reminding ASD and ASBVI students, staff, parents, and community members to

complete the ADE survey before the deadline.

       46.     On January 9, 2024, Mr. Prail, acting in his official capacity on behalf of AAD,

contacted Defendant Oliva regarding the survey's accessibility issues. In his email, Mr. Prail noted

the survey questions did not have ASL translations and audio descriptions, which rendered them

inaccessible for Plaintiffs members. Despite the urgency of the situation, Defendant Oliva failed

to provide any substantive response addressing these barriers until it was too late. While Defendant

Oliva eventually proposed a meeting, it was scheduled for February 2024 after the survey ended.

Later, this meeting was cancelled without any future meetings scheduled.

       47.     The ADE survey was available online for fifteen days, from December 22, 2023,

to January 5, 2024. But the inadequate notice combined with the survey's inaccessible format ren-

dered it impossible for Plaintiffs members to begin answering the questions, let alone complete

the survey.

                                     The Survey's Aftermath

       48.     On January 5, 2024, the ADE survey closed as scheduled. Despite multiple requests

by Plaintiff, Defendants failed to implement any of the requested accommodations for the survey,

effectively excluding Plaintiffs members from participating in the survey.



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       49.     On January 17, 2024, Mr. Prail, acting in his official capacity on behalf of AAD,

contacted Arkansas Attorney General Tim Griffin ("AG Griffin"). Mr. Prail explained how Mr.

Sission and the Secretary repeatedly failed to address AAD's concerns about the survey's inacces-

sibility. He also requested information regarding the survey's development and administration un-

der the Arkansas Freedom of Information Act ("FOIA").

       50.     On January 19, 2024, Deputy Attorney General Alexandra Benton responded to

Mr. Prail, stating that the Attorney General's Office did not have documents or materials respon-

sive to his FOIA request. Deputy Attorney General Benton suggested that Mr. Prail submit a FOIA

request to the ADE.

       51.     On January 25, 2024, Mr. Prail submitted a FOIA request to the ADE. Six days

later, the ADE requested further clarification regarding his FOIA request. Mr. Prail sent a follow-

up response on January 31, 2024, providing additional details. Several months later, the ADE pro-

vided documents in response to the FOIA request.

       52.     On January 26, 2024, in response to the growing public outcry regarding the sur-

vey's inaccessibility, the ADE released a public statement attempting to distance itself from the

survey. The statement claimed that the survey was requested by Arkansan legislators who wanted

feedback from their constituents regarding ASD and ASBVI. The ADE also stated it did not create

the survey but shared it on its Facebook page to encourage responses. 3

       53.     On February 13, 2024, Governor Sanders held a press conference. During this press

conference, Governor Sanders stated that the state's plan for ASD and ASBVI was based on the

input from a "survey of the school comrnunity." 4




3 See supra, note 2.
4 Snyder, supra note 1.
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          54.   On March 17, 2025, Arkansas House Representatives Joey Carr and Tippi

McCullough and Arkansas Senator Jane English introduced HB 1810. This bill proposes the mer-

ger of ASD and ASBVI into a single entity called the "Arkansas School for the Deaf and Blind."

H.B. 1810, 95th Gen. Assemb., Reg. Sess. (Ark. 2025).

          55.   HB 1810 proposes to eliminate the separate boards of trustees for ASD and ASBVI

and replace them with a single board consisting of five members appointed by Governor Sanders.

Under the proposed bill, these appointments are no longer subject to Senate confirmation or legis-

lative oversight.

          56.   The proposed bill eliminates the current statutory requirement that the board in-

clude one "member ... who is a 'deaf person who fluently utilizes deaf sign language"', and in so

doing, effectively removes guaranteed deafrepresentation on the governing board. Ark. H.B. 1810.

          57.   Beyond governance changes, HB 1810 removes numerous protections and specific

provisions related to the operation of ASD and ASBVI. For instance, employees are no longer

compensated for providing parent training or student tutorial services on the weekends or evenings,

reducing support for students and their families.

                                               COUNTI
                    Violations of Title II of the Americans with Disabilities Act

          58.   Plaintiff repeats and realleges each and every allegation above as if fully set forth

herein.

          59.   On July 12, 1990, Congress enacted the ADA "to provide a clear and comprehen-

sive national mandate for the elimination of discrimination against individuals with disabilities."

42 U.S.C. § 12101(b)(l).

          60.   Title II of the ADA states that "no qualified individual with a disability shall, by

reason of such disability, be excluded from participation in or be denied the benefits of services,

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programs, or activities of a public entity, or be subjected to discrimination by any such entity." 42

u.s.c. § 12132.
       61.     Title II of the ADA defines an "individual with a disability" as "an individual with

a disability who, with or without reasonable modifications to rules, policies, or practices, the re-

moval of architectural, communication, or transportation barriers, or the provision of auxiliary aids

and services, meets the essential eligibility requirements for the receipt of services or the partici-

pation in programs or activities provided by a public entity." 42 U.S.C. § 12132(2).

       62.     Plaintiffs members are individuals with a disability because they are substantially

limited in the major life activity of hearing and/or seeing.

        63.    Plaintiffs members also meet the essential eligibility requirements for the receipt

of services or the participation in programs or activities provided by a public entity. They are,

hence, "qualified individual[s] with a disability" under Title II of the ADA. 42 U.S.C. § 12131(2).

        64.    Defendants are a department, agency, or an instrumentality of the State of Arkan-

sas; as such, they are public entities under the ADA. 42 U.S.C. § 12131 (1 )(B).

        65.    At all times relevant to this action, the ADA was in full force and effect in the

United States. Plaintiffs members have a right not to be subjected to discrimination on the basis

of their disability by Defendants. 42 U.S.C. § 12132.

        66.    Department of Justice ("DOJ") regulations implementing Title II of the ADA re-

quire the provision of effective communication as part of its nondiscrimination mandate. 28 C.F.R.

§ 35.160.

        67.    DOJ regulations state that "[a] public entity shall take appropriate steps to ensure

that communications with applicants, participants, and members of the public ... with disabilities

are as effective as communications with others." 28 C.F.R. § 35.160(a).



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         68.    Defendants' failure to provide effective communication for Plaintiffs members de-

nied, on the basis of their disability, the same access to the services, benefits, activities, programs,

or privileges as provided to hearing and/or sighted individuals.

         69.    To ensure effective communication, the ADA requires that "a public entity shall

furnish appropriate auxiliary aids and services where necessary to afford qualified individuals with

disabilities ... an equal opportunity to participate in, and enjoy the benefits of, a service, program,

or activity conducted by a public entity." 28 C.F.R. § 35.160(b)(l). Auxiliary aids and services

include, but are not limited to, "qualified interpreters" and "methods of making visually delivered

materials available to individuals with visual impairments." 42 U.S.C. § 12103.

          70.   In determining what auxiliary aid is necessary, "a public entity shall give primary

consideration to the requests of the individual with disabilities." 28 C.F.R. § 35. l 60(b)(2).

          71.   Defendants knowingly and intentionally failed to provide Plaintiffs members with

ASL translations and audio descriptions of the ADE survey, subjected them to discrimination,

and/or maintained policies and procedures that had a disparate impact on Plaintiffs members be-

cause of their disability, resulting in Plaintiffs members being denied the same benefits and ser-

vices available to hearing and/or sighted Arkansans. Among other things, because of Defendants'

failures and denials of requests for ASL translations and audio descriptions of the ADE survey,

Plaintiffs members were deprived of their right to civic participation.

          72.   These failures violated the rights of Plaintiffs members under Title JI of the ADA.

          73.   Defendants knew of the substantial likelihood of a violation of the federally pro-

tected rights of Plaintiffs members and failed to act on this likelihood.

          74.   Plaintiff is entitled to injunctive relief, declaratory relief, and attorneys' fees and

costs.



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                                            COUNT II
                    Violations of Section 504 of the Rehabilitation Act of 1973

        75.     Plaintiffs members repeat and reallege each and every allegation above as if fully

set forth herein.

        76.     Section 504 states that "[n]o otherwise qualified individual with a disability in the

United States ... shall solely by reason of her or his disability, be excluded from the participation

in, be denied the benefits of, or be subjected to discrimination under any program or activity re-

ceiving Federal financial assistance .... " 29 U.S.C. § 794(a).

        77.     Plaintiffs members are individuals with disabilities because they are substantially

limited in the major life activity of hearing and/or seeing. 29 U.S.C. § 705(20).

        78.     Plaintiffs members are also qualified individuals within the meaning of the Reha-

bilitation Act. 28 C.F.R. § 35.104.

        79.     Defendants, in their official capacities, are departments, agencies, or instrumental-

ities of the State of Arkansas and recipients of federal financial assistance. 29 U.S.C. § 794(b)(l),

(4). All of the operations of Defendants, including all the operations of the ADE and Arkansas

Department Board of Education, are "program[s] or activit[ies]" within the meaning of 29 U.S.C.

§ 794(b)(l)(A)-(B) and/or (b)(2)(B).

        80.     The DOJ regulations implementing Section 504 clarify the requirements for Federal

financial assistance recipients: "[a] recipient that employs fifteen or more persons shall provide

appropriate auxiliary aids to qualified handicapped persons with impaired sensory, manual, or

speaking skills whereas refusal to make such provision would discriminatorily impair or exclude

the persons in the program receiving federal financial assistance." 28 C.F.R. § 42.503(t).




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          81.    Appropriate auxiliary aids include but are not limited to "qualified interpreters" and

"methods of making visually delivered materials available to individuals with visual impairments."

28 C.F.R. § 42.503(f).

          82.    At all times relevant to this action, Section 504 was in full force and effect in the

United States, and Plaintiffs members had a right not to be subjected to discrimination on the

basis of their disability by Defendants.

          83.    Defendants knowingly and intentionally failed to provide ASL translations and au-

dio descriptions or other necessary auxiliary aids and services the Plaintiffs members requested,

subjected Plaintiffs members to discrimination, and/or maintained policies and procedures that

had a disparate impact on Plaintiffs members because of their disability resulting in Plaintiffs

members being denied the same benefits and services available to hearing and/or sighted Arkan-

sans.

          84.    Among other things, because of Defendants' failures and denials of requests for

ASL translations and audio descriptions of the ADE survey, Plaintiffs members were deprived of

their right to civic participation.

          85.    These failures violated the rights of Plaintiffs members under Section 504.

          86.    Defendants knew of the substantial likelihood of a violation of the federally pro-

tected rights of Plaintiffs members and failed to act on this likelihood.

          87.    Plaintiff is entitled to injunctive relief, declaratory relief, and attorneys' fees and

costs.

                                      PRAYER FOR RELIEF

          WHEREFORE, Plaintiff requests that the Court provide the following relief:




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       1.      Declare that the actions and inactions described herein violate the rights of Plain-

tiffs members under Title II and Section 504;

       2.      Issue an order requiring that Defendants publish a survey identical to the ADE sur-

vey with the appropriate accessibility measures;

       3.      Issue an order requiring that Defendants put in place the systems, procedures, and

personnel needed to ensure that the new survey and any future surveys comply with Title II and

Section 504;

       4.      Enjoin Defendants from relying on, referencing, citing, or using in any manner the

results of the original inaccessible survey in any policy decisions, legislative recommendations, or

administrative actions regarding ASD and ASBVI;

       5.      Declare that any actions already taken based on the inaccessible survey are deficient

and must be reconsidered following the completion of the accessible survey ordered herein;

       6.      Award reasonable attorneys' fees and costs pursuant to 42 U.S.C. § 12133, 12205,

and 28 C.F.R. § 35.175; and

       7.      Grant such other and all relief that this Court deems just and proper.



 Dated: March 20, 2025                          Respectfully submitted

                                                Michael J. Laux    ~
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                                                Brittany Shrader
                                                NATIONAL ASSOCIATION OF THE DEAF
                                                LAW AND ADVOCACY CENTER


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